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     AO 440 (Rev. 06/12) Summons in a Civil Action


                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


     FISHER BROWN BOTTRELL INSURANCE )
                    INC
                   Plaintiff            )
                      v.                ) Civil Action No. 3:23−CV−00429−DEW−KDM
                                        ) Judge Donald E Walter
           VANGUARD TOWERS INC          )
                  Defendant             )
                             SUMMONS IN A CIVIL ACTION

    To:
    Vanguard Towers Inc




            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) you
    must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
    Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's
    attorney, whose name and address are:
                                        Carey Lyon Menasco
                                        Liskow & Lewis (NO)
                                        701 Poydras St Ste 5000
                                        New Orleans, LA 70139

          If you fail to do so, judgment by default will be entered against you for the relief demanded in
    the complaint. You also must file your answer or motion with the court.




                                                                                CLERK OF COURT

    Date:   4/4/2023                                                           /s/ − Tony R. Moore
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                                            PROOF OF SERVICE
           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

    This summons for Vanguard Towers Inc was received by me on
    (date)______________________________.


              • I personally served the summons on Vanguard Towers Inc at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name)
                _____________ ___________________________ , a person of suitable age and discretion
                who resides there, on (date) _________________ , and mailed a copy to the individual's
                last known address; or

              • I served the summons on (name of individual) ______________________, who is
                designated by law to accept service of process on behalf of (name of organization)
                _____________________ ________________________________________ on (date)
                _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

        My fees are $ __________ for travel and $ _________ for services, for a total of $
        ______________ .

        I declare under penalty of perjury that this information is true.




           Date: _______________________                         ______________________________
                                                                              Server's signature

                                                                 ______________________________
                                                                            Printed name and title


                                                                 ______________________________
                                                                              Server's address




  Additional information regarding attemped service,
  etc:
